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                             IN THE UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION

LA UNION DEL PUEBLO ENTERO, et al.,

     Plaintiffs,
                                                                     No. 5:21-cv-844-XR
v.
                                                                        (Lead Case)
GREGORY W. ABBOTT, et al.,

     Defendants.

                            STATE OF TEXAS’ MOTION TO WITHDRAW COUNSEL

               Pursuant to Local Rule AT-3, Defendants Gregory W. Abbott, in his official capacity as

     Governor of Texas, Jane Nelson, in her official capacity as Secretary of State Texas, Warren K.

     Paxton, in his official capacity as Attorney General of Texas, and the State of Texas (collectively,

     “State Defendants”) file this Unopposed Motion to Withdraw Chris D. Hilton as counsel in this

     matter.

               Mr. Hilton is no longer employed by the Office of the Attorney General of Texas. State

     Defendants will continue to be represented by counsel listed below. This withdrawal will not delay

     any proceedings. This motion is unopposed.

               For the reasons stated above, State Defendants respectfully request that the Court grant

     this motion to withdraw Chris D. Hilton as their counsel of record and remove Mr. Hilton from all

     further electronic notifications regarding this case.
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Date: January 25, 2024                    Respectfully submitted.

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                                   CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on January 25, 2024 and that all counsel of record were served by CM/ECF.

                                             /s/ Ryan G. Kercher
                                             RYAN G. KERCHER




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